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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

      v.
                                                   Criminal Case No. 21-582 (CRC)
 MICHAEL A. SUSSMANN

                 Defendant.



   [PROPOSED] ORDER GRANTING NON-PARTY PERKIN COIE LLP’S MOTION
         TO INTERVENE FOR THE LIMITED PURPOSE OF OPPOSING
 THE GOVERNMENT’S MOTION TO COMPEL THE PRODUCTION OF PURPORTED
                    PRIVILEGED COMMUNICATIONS
               FOR IN CAMERA INSPECTION BY THE COURT

           Upon consideration of Non-Party Perkins Coie LLP’s Motion to Intervene for the Limited

Purpose of Opposing the Government’s Motion to Compel the Production of Purported Privileged

Communications for In Camera Inspection by the Court, and good cause appearing therefor, it is

hereby:

           ORDERED that Perkins Coie LLP’s Motion is GRANTED; and it is further

           ORDERED that the Clerk enter the attached Exhibit 1, Non-Party Perkins Coie LLP’s

Opposition to Government’s Motion to Compel the Production of Purported Privileged

Communications for In Camera Inspection by the Court, onto the docket.

           SO ORDERED.

Dated:____________                     __________________________________________
                                       CHRISTOPHER R. COOPER
                                       United States District Judge




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